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Date Completed: 04/22/2002 Rider #: 17
_  LI¥E INSURANCE COMPANY OF NORTH AMERICA
Rider To Contract

In consideration of the premium charged for this policy, it is herby
understood and agreed that:

1. The address of the Policyholder is amended to read:

815 Chestnut street
North Andover, MWA 01845

“ys

Except for the above, this rider does not change the policy in any way.

Eoctive Date 94/22/2002 at the hour specified in the policy Part of the Polley No, OK 003464

Issuedio Watt Industries Inc.

Broker Name
Marsh 048045

Not Authorized Agent «of the Michael W. Bell, President
valid unteas. countersigned a duly authorized agen F .
LIFE INSURANCE COMPANY OF NORTH AMERICA

Compieted by: gpg

eon ofura aes

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Date Compisted: 03-20-1998

LIFE INSURANCE COMPANY OF NORTH AMERICA
Rider To Contract :

In consideration of the premium charged for this policy it is hereby
understocd and agreed that the policy is amended ag follows effective

January 1, 1997:

i. Euployes eligibility is changed to read as follows:
All Active Full-time U.3. and Canadian enployeas and eligible Canadian
union employees of participating. Watts Industrles. companies.
‘ =

“4

Except for the above, this rider does not change the policy in any way.

Rider #: 16

Bt the Pour specified in the policy | a at the Policy No, OK 3464

Effective Date 91-01-1997

Issued to Watts Industries, Inc.

Broker Nama

Seabury & Smith 048045

Not valid unless countersigned by @ duly su Suthorized agent of the
LIFE INSURANCE COMPANY OF NORTH AMERICA

Completed by: 3g

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04

Date. Completed: 10/07/1997 oo Rider #: 15
LIFE INSURANCE COMPANY OF NORTH AMERICA

Rider To Contract

In consideration of the premium charged for this policy it is hereby
understood and agreed that the policy is amended as follows:

‘1. The Special Education Benefit described on Rider #12 is hereby deleted

and replaced with the attached Amendatory Rider, form LM-9170.

2. The Spouse Training Benefit described on Rider #12 ie hereby deleted
and replaced with the attached Amendatory Rider, form TL-000786.

3. The Child Care Center Benefit described on Rider #12 is hereby deleted
and replaced with the attached Amendatory Rider, form TL-003900.

Except for the above, this rider does not chengs the policy In any way.

Effective Date 92/01/1996 *t the hour specified in the policy |». a+ the Policy No, OX 3464

_] Issued to Watts Industries: Ine.

Broker Name

Seabury & Smith 048045

Not valid unless countersiened by a duly aut 0 ized agent of the
LIFE INSURANCE COMPANY OF NORTH AMERICA

Completed by: pag

Co LIFE INSURANCE COMPANY OF NORTH AMERICA
|
AMENDATORY RIDER

This rider amends the policy ot cettificate to which it is attached, It takes effect and expires at the same time as the
policy or certificate.

In return for the premium the following benefit is added:
SPECIAL EDUCATION BENEFIT

We will pay a "special education benefit" if the Insured:
a) is covered under the Family Plan; and
b) dies as the result of a covered accident; and
c) Is survived by a dependent child who:

(1) on the date of accident, was enrolled as a full-time student in any school beyond the 12th
grade level; or

(2) was at the 12th grade level and later enrolls as a full-time student at a school of higher
learning within 365 days after the. accident.

The “special education benefit" is payable for each child who qualifies:
- a) in an amount equal to 5% of the Insured’s Principal Sum, but not more than $5,000;
a b) once a year for not more than four straight years;
A i 0) only while the child coritinues as a full-time student at a school of higher learning;
woe d) in addition to all other policy benefits. -

If, at the time of accident, Family Plan coverage is in force but there is no dependent child who qualifies, we will pay
an additional benefit of $1,000 to the Insured’s designated beneficiary.

No other policy provision or condition is changed in any way by this rider.

LIFE INSURANCE COMPANY OF NORTH AMERICA

John K. Leonard, President

LM-9L70 . . puly 12er

mS LIFE INSURANCE COMPANY OF NORTH AMERICA

AMENDATORY RIDER

This rider amends the policy or certificate to which it is attached. It takes effect and ends at the same time as the
policy or certificate.

The following benefit is added:, 4

We will pay. this benefit if the Insured:
a} —_has elected dependent spouse coverage prior to time of accident; and
b). dies within one year of, and: as a result of, a covered accident; and
c) is survived bya dependent spouse.

The benefit will be payable for the Insured’s surviving spouse who:
a) enrolls within one year after the Insured’s death in any accredited school for the purpose of retraining
or refreshing skills needed for employment; and .
b)} incurs expenses payable directly to, or approved and certified by such school. .

We will pay the cost of such incurred expense for not more than:

a) three years after the first retraining/refresher course begins; or
. b) $3,000
) whichever is less.

i

Payment will be in addition to all other policy benefits.

Except for the above, this rider does not change the policy or certificate in any way.

TL-000786 . 2/88 Printed in U.S.A.

LIFE INSURANCE COMPANY OF NORTH AMERICA

AMENDATORY RIDER

This rider amends the policy or certificate to which It is attached. It takes effect on the date shown above and ends at the same
time as the policy or certificate.

-In return for the premium, the following benefit is added:
"uA
CHILD CARE CENTER BENEFIT
We will pay this benefit if the Insured Employee or Insured Spouse:

a) has elected coverage for his dependent children; and -
b) dies as the result of a covered accident; and
c) is survived by a dependent child who:
1) on the date of the covered accident was enrolled in a legally licensed Child Care Center; or
2) is enrolled in a legally licensed Child Care Center within 365. continuous days from the date of the

accidental death; and .
3) is under 13 years of age.

The Child Care Center Benefits is payable for each child who qualifies: oS
a) in an amount up.to 5% of the Insured Employee's Principal Sum, but not more than $5,000 per year;

and
- b) only while the dependent child continues to be enrolled in a legally licensed Child Care Center.

(| } will pay this benefit once a year for not more than 5 years, or until the dependent child enters the first grade, whichever.
_. 4ppens first.

This benefit will be payable to the surviving spouse, if the spouse has custody of the child. If there is no surviving spouse, or
the child does not live with the spouse, then the benefit will be paid to the child's legally appointed guardian.

“Child Care Center means a facility which:
a) is icensed, run according to law, including laws and regulations applicable to child care facilities; and
b) provides care and supervision for children in a group setting, on a regular, daily basis.

A Child Care Center does not Include: a) a hospital; or b) the child's home; orc) care provided during norma! schoo! hours
while a child Is attending grades one through twelve.
At the. end of each twelve-month period following the Insured's death, we will relmburse the claimant. Bills must be submitted
fo us at the end of the twelve-month period. A twelve-month period starts:
a) when the dependent child enters a Child Care Center for the first time after the Insured's death; or
b) on the first of the month following the Insured's death, if the dependent child was enrolled in a Child Care
Center before the Insured's death. .

Except for the above, this rider does not change the policy in any way.
LIFE INSURANCE COMPANY OF NORTH AMERICA
John X. Leonard, President ou

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’ Except for the above, this rider dose not change the policy In.any way.

Date Completed: 08/27/96 . Rider #: 14
LIFE INSURANCE COMPANY OF NORTH AMERICA
Rider To Contract

In. consideration of the premium charged for this policy it is hereby
understood and agreed that the policy is amended as follows:

(1) The Applicable Principal sum Amount for Class I has been increased to the
following: .., « .

Minimum $10,000) Maximum $500,000* in multiples of $10,000.

‘Amounts over $150,000 may not exceed ten (10) times annual earnings

Part of the Policy No. OX 3464

Effective Date eptember 2, 1996 at the how specified in the policy

Isaued to Watts Industries Inc.

Broker Name
Seabury & Smith 048045

Seabury & Gaith, Inc, !

Not valid uniees countersigned by a duly authorized agent of the.
LIFE INSURANCE COMPANY OF NORTH AMERICA

Authorized Agent

Completad by: pag

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Neer”

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Date Completed: 08/09/96 Rider #: 13
LIFE INSURANCE COMPANY OF NORTH AMERICA

Rider To Contract

In consideration of the premium charged for this policy it is hereby
understood and agreed that the policy is amended as follows:

(1) The name of ‘the Policyholder is amended to read:
WATES INDUSTRIES INC.
(2) The following is an updated list of subsidiaries:

Ancon, Canada

'Ancon, USA

EZnpoco Canada LTD

Hale Oilfield Products Company
James Jones Company

x¥ Industries, Inc.

KY Sales

Leslie Controls, Inc.

Rudeliph LaBranche, Inc.

Spence Engineering Company, Inc.
Watts Industries (Canada) Inc.
Watts Reguiatox Company

Watts Regulator of Canada, Ltd.

(3). Coverage for an insured dependent child may be continued beyond
attainment of the age limit if such child is and continues to be
dependent upon the employee due to mental retardation or physical
handicap. Proof of such incapacity must be received by the insurance
company within 31 days of the age limit.

(4) Conversion Privilege, form LG-6155, is hereby deleted and replaced by
form LHN-9L,76a (attached hereto).

Except for the above, this rider does not change the policy in.any way.

January 1, 1996 at the hour specified in the policy Part of the Policy No OK 3464

Effective Date

i to Watts industries Inc.

048045 , Zp
sot vaid Authorized 4 Age gent sad the n K, Lagefd, President
¥ unless counter signed authorize: it i
LIFE INSURANCE COMPANY OF NORTH AMERICA / JOHN K, LEONARD, PRESIDENT

Completed by: pag Lue - %

LIFE INSURANCE COMPANY OF NORTH AMERICA
~The rder emends the policy or certificate to which Ris attached and ends at the seme time. The following provision Is added.
{
Cc CONVERSION PRIVILEGE

We wal Issue 8 converted policy to you (the Insured) # the accidental death Insurance under the policy or certificate ends for any
of the following reasons:

a) employment or membership ends; or .

b) oligibtity ends (except for age); or

c) the group or blanket policy or plan ends.

It 1) 4

Age: You must be under age 70 to get a converted policy.
Health: We will not ask for your proof of insurabllity.
Application: To get a converted policy, you must: (1). apply within 31 days after group coverage ends; and (2) pay the first

premium. if you have assigned ownership of your group coverage, the owner must apply for you.
Cost: Your premium will be based on: (1) the class of risk td which you belong: (2) your age; and (3) the form and amount
of coverage issued.

Effective Date: Your converted policy will take effect on: (1) the date group coverage ends; or, If later, (2) the date you apply

Benefits: The converted policy will cover accidental death and diememberment. The amount you apply for must be: (1) in
$1,000 increments; and (2) not leas than $25,000 nor more than the amount of your group Insurance If greater than $25,000;
-and not more than $250,000.00. -

(__Jetustons: The converted policy may exclude the hazards or conditions that apply to your group coverage at the time It ends.
> ~¢e wil reduce payment under the converted policy by the amount of any benefits paid under the group policy if both cover the
| same foes,

Dependents: Dependents may alse convert group coverage when they cease to be eligible for any reason except age.

Renewability: The converted policy may provide that it can be renewed on any anniversary with the consent of the Company
subject to's maximum age limit. -

Prior Converted Policy: if you convert your group coverage and later again be insured under the same group plan, you may
iat convert & secornd fine untess: (1) you give us, at your expense, proof of your insurability; or (2) the prior converted policy

State Laws: if the converted policy we provide in the state where the group policy was Issued cannot lawfully be provided in
_ the state where you reside at time of conversion, you may choose a form that is available for conversion in your state.

No other policy provieion or conditian Is changed in any other way by this rider.
LIFE INSURANCE COMPANY OF NORTH AMERICA

K. LEONARD, President

LM-9L78a 12/87

‘

Date Completed: 06/21/96 Rider #:

Rider To Contract

In consideration of the premium charged for this policy, it is hereby

understood and agreed that:

(1) Description of Eligible Persons is amended to read as follows:

(2)

Except for the above, this rider does not change the policy in-any way.

All full-time active employees of the Policyholder and their
eligible dependests, excluding collective bargaining employees.

 * An eligible dhpendent is the spouse (under age 70) of the Insured

employee and any unmarried dependent children of the Insured
Employee from birth to age 23 years; 25 if enrolled as a full-time

student in an accredited college or university.

A child in considered dependent if the Insured Employee or Spouse has
the primary financial responsibility of such child. Stepchildren, .
foster children and legally adopted children are included in the
definition of a dependent. A person cannot be insured as both an

employee and a dependent.

The Applicable Principal sum Amounts have been increased to the
following: ,

(Class Tt Minimwa $10,000; Maximum $300,000* in multiples of. $10,000.

Class II: 50% of Class I Benefit if children insured, other-wise
60% of Class I Benefit.

Clase IIzt: . 15% of Class I Benefit unless no spouse insured then
20% of Class I Benefit

‘*Mmounts over $150,000 may not exceed ten (10) times annual earnings

Effective Date

January 1, 1996 at the hour specified m the policy Part of the Policy No. OK 3464

issuedto “Stts Industries Incorporated

Seabury & Smith, Inc.

| Broker Name
Seabury & Smith 048045
Dann. Lido, hp

Not valid untess countersignad by a duly authorized agent of the
LIFE INSURANCE COMPANY OF NORTH AMERICA

Authorized Agent

Completed by: cac

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Date Completed: 06/21/96 . Rider #; 12
LIFE INSURANCE COMPANY OF NORTH AMERICA —

Rider To Contract

(Continued)
(3) Seat Belt Benefit is added to coverage under this policy:

Tf an Insured loses his or her life as a covered result of a covered
accident which occurs while riding as a passenger, or driving a private
passenger car, the insurance company will pay an additional benefit up
to 10% of the Insured Person’s benefit amount, to a maxitum of $10,000.
The benefit will be paid provided that: .

(1) The car is equipped with seatbelts; and

(2) The seat belt was in actual use and properly fastened at the time of
the accident; and

(3) The position of the seat belt is certified in the official report of
accident; ox by the investigating officer.

A "private passenger" car is a valid registered four-wheel drive private.
passenger car (including one owned by the Policyhbolder) station wagon,
jeep, pickup truck, van-type car that is NOT being used for commercial

purposes.
(4) Common Disaster Benefit is added as follows:
rf both the Employee and spouse die as a result of injuries from the same
accident within 365 days of the accident, the Prineipal Sum payable for
loss of life of the spouse will be increased to equal that payable for
the loss of life the employee.
Except for the above, this rider doss not chenge the pofloy in any way.
Effective Date January 1, 41996 at the hour specified in the policy Part of the Policy No, OK 3464
Issuedto Watta Industries Tncorporated
Broker Name
048045
Authorized Agent i K. LeorfarG, President
Not valid unless cat igned by # duly authorized agent of the
LIFE INSURANCE COMPANY OF NORTH AMERICA

Completed by: cac

Date Completed: 06/21/96

Rider #: 12

LIFE INSURANCE COMPANY OF NORTH AMERICA
Rider To Contract

(Continued)

(5) Extension of Fanily Coverage is hereby added as follows:

Tf the employee suffers an accidental loss of life covered under this
policy, coverage for the surviving family will remain in effect for a.

period of 90 at from the date of the last

to the aurvi dependents.

premium payment at no cost

(6) Spouse Training Benefit is added to coverage as follows:

We will pay this benefit if the Insured:

_(a) is covered under the Faaily Plan; and

(b) dies as the result of a covered accident; and

(c) is survived by a spouse who:

1) enrolls within one year after the insured‘s death in any

accredited school for the purpose o
skills needed for employment; and
2) inours expenses payable directly to,

such school.

£ retaining or refreshing

or approved and certified by,

We will pay the cost of such incurred expense for not more than:

(a) 36 months after enrollment begins;
{b) $3,000, .

If, at the time of accident, Fanily Plan coverage is in force but there
ig no spouse who is or could become eligible for this benefit, we will
pay an additional benefit of $1,000 to the Insured’s designated

beneficiary.

Except for the above, this rider does not change the policy in any way.

Effective Date 7SRuary 1, 1996

at the hour specified in the policy

Part of the Policy No, OX 3464

tesued to Watts Industries Incorporated

Broker Name .
Seabury & smith

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Bore “07
Not vatg raed Agarit bthe nK, Leopged, President
unless tersigned a F thorized
LIFE INSURANCE COMPANY OF NORTE AMERICA sgento JOHN K. LEONARD, PRESIDENT

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Completed by: cac

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_ Date Completed: 06/21/96 Rider #:12

(7)

Rider To Contract
(Continued)
Child Care Center Benefit is added to coverage as follows:
We will pay this. benefit if the Insured Employee or Insured Spouse:

a) haa elected cqverage for his dependent children; and
bb) dies as a result of a covered accident; and
c) is survived by a dependent child who:

1) on the date of the covered accident was enrolled in a legally
. licensed Child Care Center; or

2) is enrolled in a legally licensed Child Care Center within 365
_ G@ontinuous days from the date of the accidental death; and

3) is under 13 years of age.

The Child Care Center Benefit is payable for each child who qualifies:
a) din an amount up to 5% of the Insured Employee's Prinicpal sum, but
not more than $5,000 per year; and
b) only while the dependent child continues to be enrolled in a. legally
licensed Child Care Center.

We will pay thia benefit once a year for not more than five years, or
until the dependent child enters the first grade, whichever happens first.

<£, at the time of the accident, coverage for a dependent child is in
force, but there is no dependent child who qualifies, we will pay an
additional benefit of $1,500 to the Insured’s designated beneficiary.

Except for the above, thie rider does not change the polloy in any way.

Etfective Date Fanuary 1, 1996 at the hour apecified in the policy

Part of the Policy No, OX 3464

Issuedto Watts Industries Incorporated

Not valid uniess

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Authorized Agent tthe
wniess ‘OY a duly authorized agent o
LIFE INSURANCE COMPANY OF NORTH AMERICA

Completed by: cac

12

. Date Completed: 06/21/96 Rider #: 12
Rider To Contract

A } (Continued)

This benefit will be payable to the surviviag spouse, if the spouse has
custody of the child. If there is no surviving spouse, or the child does
does not live with the spouse, then the benefit will be paid to the ohild’

legally appointed guardian.

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"Child Care Center" means a facility which:

a) ia run according to law, including laws and regulations applicable .
to child care facilities; and ,

b) provides care and supervision for children in a group setting, on e
regular, daily basis.

A Child Care Center does not include: a) a hospital; or b) the child’s
home; or ¢) care provided during normél school hours while a child is
attending grades one through twelve.

At the and of each twelve-month period following the Insured’s death, we

will reimburse the claimant. Billa must be subeitted to us at the end of
the tweive-month period. A twelve-month period starts:

a) when the dependent child enters a Child Care Center for the fizst
4 ) time after the Insured’s death; or
NN. b) om the first of the month following the Insured‘ s death, if the
™ Gependent child was enrolled in a Child Care Canter before the
Insured’s death.

Except.for the above, this rider does not change tiie policy in any way.

Eitective Date TARUAry 1, 1996 at the hour specified in the policy / 5 Polley No, OK 3464

Issued to Watts Industries Incorporated

048045 —

Seabury & smith
Smith, Inc, !

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Not veld Authorized agent d tthe John K. Leonard, President
a V unless oountersigned. a duly authoriz agent o
UFE INSURANCE COMPANY OF NORTH AMERICA
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el

Completed by: cac

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a,

Date Completed: 06/21/96 Rider #: 12

(a)

Except for the above, this rider does not change the policy in any way.

Rider To Contract —

(Continued)
SPECIAL KHDUCATION BENEFIT ig added to coverage as follows:
We will pay a “special education benefit" if the Insured;

a) is covered under the Family Plan; and
b) dies as the résult of a covered accident; and
¢) is survived by a dependent child who:

1) on the date of accident, was enrolled as a full-time student in any
school beyond the 12th grade level; or

2) was at the 12th grade level and later enrolls as a full-time
student at a school of higher learning within 365 days after the
accident.

The “special education benefit" is payable for each child who qualifies:

a) in an amount equal to 5% of the Insured’s Principal gum, but not more
than §5,000.; a
b) once a year for not more than four straight years;
¢) only while the child continues as a full-time student at a school
of higher learning;
d) in addition to all other policy benefits.

If, at the time eof accident, Family Plan coverage is in force but there |

is no dependent child who qualifies, we will pay an additional benefit

of $1,000 to the Insured’s designated beneficiary.

Effective Date

January 1, 1996 at the hour specified in the policy Pact of the Policy No OK 3464

lesuedto M@tt# Industries Incorporated

Net valid unless countersigned by a duly suthorized
LIFE INSURANCE COMPANY OF NOATH AMERICA

Ld:

Au noriz Ze AN K. Leofte ‘d, President.
agent of the TNE

Completed by: cac

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Si es along Hed

Policy

WEEP pa “hprticétion Tm |. wy ee n Tae.
ph a tes Se Oi AK6A
Dede "LiFe INSURANCE MPANY OF NoatH, AMERICA aT. L_ Nember
Cc pliccstion is hereby made for a policy of insurance on form LG-4219 based on - . ome Boston - 524

he Following stalements and representations. OO ‘

. : . Agent
( Narne of Organization? Watts Regulator Gompanyo of Marsh & McLennan,
Adciress? Lawrence, Maséachusetis . Lee ——— ~

Typ e of Business or Organization? Manufacturer of automatic temperature and |
‘pressure regulating safety devices and controle.
“2. Persons eligible to become insured under this poticy shail be all those described below, for whom written application is made,
inel uding any who become eligible during the term of the policy, With respect to applications received on or before the
policy effective date, individual insurance begins on the policy effective date. . : ‘

After the policy effective date, newly eligible persons may apply within 31 days after they become eligible, sand individual .
insurance will become effective on the first day of the month next following the date the application i is received. Eligible
persons who do nol apply either during the initial enrollment period or within 31 days after becoming eligible may thereafter
apply, but individual insurance shall not become effective unlil the first day of Ihe month next follawing the date the .
application is approved by the Company after submission of satisfactory evidence of insurability. -

if the eligible person for whom written upplicalion is made #s nol regularly performing the duties of his oceypation on the
effective date of insurance as described in the preceding parngraphs, then the effective data of insurance with respect to such
person shall be the firs! day of the month following the dale of rclurn to the regular performance of his duties.

Eligibility shall cease culomalically {i} upon attainment of age 70, or (ii) upon entry on full-time active duty for more thon
30 clays service in the Armed Forces of iny country or inlernatonal authority, or (ii) on Hie date the person ceases to meet
the eligibility requirersents described Lelow. If the Insured i+ the dependent of on eligible employee (or the dependent of an
eligible member) also insured hereunder, the dependent's. eligibility shal cease automatically and concurrently with the

aligibiity of the amployee [or member).

Coverage for any Insured who ceases to be an eligible person for any reason shall terminate on the premium due date
next following the date such eligibility ceases, .

( Pp Description of Eligible Persons . "Number of Eligible Persons
Alt full time acttve non-witon employeea under (B50
" ' age 70 co
Corr u Spouse (under age 70) of a Class I Person 600
ov Unmarried dependent children of a Class I or IT 1200

Person who are between 30 days or 20 yeara, or
23 yeare {f. enrolled as a full time student in an

'. : @oeeredited collage or wiiveratty.
3. Applicable coverage and amount of Principal: Sum per person {amount of Principal Sum must be in multiples of $5,000

and not tess then $10, ono;

Class oo mo Asplicable Coverage - Applicable Principal Sum -
r- Accidental Death & Dismemberment Minima $20,000 ~ Maximan $150,000 in multiples
and Permanent Total Dieability . 10, 000.

Ir Acatdental Death & Dismemberment teh Claas. 1 pemeg if ohi tdren are insured,

ene
III: Accidental Death & Diememberment. ruteg 508 int Bene fet. spouse ineurac
4. The ‘aggregole limit of liability per. acetdent, ....shall be $1.8

,000,000....... then 15% of Class I Bene
The Coinpany shall not be Hable for any amount in excess of the aggreyate limit stated above.

If tha ancranate amount of all inskemnities otherwise poyoble by reason of coverage provided under the policy exceeds
Fath Unewened fae a aenedar nranartian of the

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fe Forms attached to. and forming Part of this policy on its date of issue are:

oe
Foun. #, 229 Description
LG~4220 Provisions _

> ____ ACCIDENT Poticy a /
TH WRITER APPROVAL =| RENEW. OR IN LIEU OF & SOFRE — a

New 524~Boston mse

_ } [exe CoE | company 1NS, TRANS,
clog 6
i MO. & YR. ENT-PK WO,-ENTRY NO,
69
January 1, 1975.
EFFECTIVE DATE; “hyof
Name and Address.
‘Of Organization: =—
_ Watts Regulator Company
ence, Maga,

LG~4271 Schedule of Tnsureas
LG-§155 Comversiion Privilege

LG-5134~4 Rider #1

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ATTACH COPY OF ALL FORMS ATTACHED TO AND FORMING PART OF POLicy,

AGENT OR BROKER capy

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Soe LIFE“ 2URANCE COMPANY OF NORTH MERICA

*.

RIDER $11

in consideration of the prenius charged for this policy, it is herehy
understood and agreed thas;

(1) The following list of subsidiaries are covered uncer this policy:

Watts Regulator Company
Watts Regulater of Canada, Ltd,

Spence Engineering Company, inc,

Janea Jones Company and Plippen Valve Company
Watts/Muesco Valve Company and Hale Oilficid Products
Taras Valve Company, Ine.

RP Industries, Tuc.

Begle Valve Company, Inc.

Nicholson Steam Trap, Inc.

Leslie Controls, Ine.

(2) With respect to Employees who are located outside the United States
or Canada, and-who are not citizens of the United States c= Canada,

indemnities payable hereunder shall be remittad to the beneficiary

in such form and through such intermediaries as the Policyholcer an

the Company may agree wupon.

() ‘The Policyholdexr agrees to indemnify and save harmless theConpany

Cc. from any clain for benefita under this pelicy with respect to in-
demnities remitted to the Policyholder for distribution te the
oeneficlary.

da?

Except for the above, this rider does not change the policy in any way.

Effective Date Part of Policy No.
January 2, 1990 atthe hour specified in the policy. a, OK 34 64

Issued to
Watts industries, Incorporated

524~Boston 048045. Marsh ¢ McLennan Group Asyociateg CAC/eaj 1/24/90
. . 5 1 t .
Loe wee, ah eres a eneer RSSOr aT ree Sk j Zz Bary ped,

Not valid unless countersigned by a duly authorized agent of the GORDON L- MURPHY, Prankeny
LIFE INSURANCE COMPANY OF NORTH AMERICA 17
. LG-51%da

* > Cae 2 LWOCUME

LIFE INSP ANCE COMPANY OF NORTH ANFRICA

RIDER #10

to] in consideration of the premium chargad for this policy, it is heraby
44 uiderstoed and agreed that: .

(1) The Applicable Principal Sum Amounts have been increased te the
following:

Class I: Minimum $10,000 - Maximum $300,000* in multiple of
4) $20,000, .
Class Ir; 50% of Clase I Benefit if children insured, other-

Class III: 103 of Class I Benefit unless RO spouse insured then
*Amounts over $150,000 may not exceed ten (10) times annual earn=
_Laga. , ,

(2) Maximum amount that can be converted to an individual policy is
hereby increased to $150,000. .

€3) Premium rates per $1,000 per month are amended to read ag

follows:
Employee only $.045
| Family plan $.065

Accidental Death & Dismemberment

At Age . Benefit will be reduced to:
tI
70 through 74 . 82.58 of your pre-age Benefit
‘73 through 73 57.5% Amount
80 through 84 37.5% .
85 and older 20%

4a?

xcept for the above, this rider does not change the policy in any way.

Effective Date Part of Policy No.
April 1, 1989 atthe nour specified in the policy, | OK 34 64

Issued to

:

Watta Industries, incerporated

- 524~Boston 048045 Marsh & McLennan Group Associates JST/eaj 12/7/89

<x d
oo Authorized Agent y ,

/ GORDON _
t valid unless countersigned by a duly authorized agent of the “nena 1 8

°E INSURANCE COMPANY OF NORTH AMERICA

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ata 3” NSURANCE COMPANY OF WORTH ( ai A
| Rider #9
( } .
" . Uf constderation of the premium charged, it is hereby understoad and agread
( that the nawe of the Policyholder 1s amunded to.
Watts Industries, Incorporated
wf
L)
Nothing herein contained shai! vary, alter or extend any provision or condition of the poficy other than as above stated.
“Effective Date . ‘| Part of Polley No.
January 1, 1986 at the hour specified in the policy.| OF 34 64
issued to : .
Watts Industries, Incorporated
524-Boston 048045 Marsh & McLenna Group Assoctates MFS/pmg 3/28/.
~
Authorized Agent

ANY OF NORTH AMERICA .

‘ot valid unless countersigned by a duly authorized agent of the HARTZEL. LEBER President 1 Gg
AFE INSURANCE COMP

tL” NSURANCE COMPANY OF WORTH / “RICA 6
or
4:

Rider #8

Co) ne In consideration of the preufum charged for this policy, it is hereby xd
( - understood and agreed that the following changes are amended to this yp
So policy effective February 1, 1984:

1. Description ef Eligibles for LG-4229 Class I employees is amended
to read as follows: .

“All full-time active employees under age 70".

2. Description of Coverage form LG-4235 fs amended to include -
Loss of speech and/or heartag - Loss means with regard to speech
complete and trrecoverable loss of speech, and with ragard to hearing
trrecoverable less of heartng which cannot be corrected by any heartng
aid or davice,

Loss of Speech and Hearing. ... . . .The Principal Sum
Loss of speech or Hearing ... 2. . One-half. The Principal Sum

3. SPECIAL EDUCATION BENEFIT

If an insured who has elected Family Plan coverage suffers loss of life
in @ covered accident while the policy is in force as to such Insured,
. the Company will pay, in addition to al] other benefits payable under
\ the policy, a “spactal education benefit" equal. to 2% of the Insured's
3 Principal Sum amount (subject to a maxisnes amount of $2,500) on behalf
of any dependent child who, on the date of accident, was enrolled as a
full-time student in any institution of higher learning beyond the T2th
grade level, or, was at the 12th grade level and subsequently enrol}s as
a full-time student fn an institution of higher learning within 365 days
following the date of accident.

t . The "special education benefit" is payable annually for a maximum of four
consecutive annual payments but only ff the. dependent child continues his
education as a full-ttme student in an Institution of higher Taarning.

(~ “™

If, at the time of accident, Family Plan coverage is in force but there
are no dependent children who. qualify, the Company will pay an additional
benefit of $1,000 to the designated benefictary.

Nothing herein contained shall vary, alter or extend any provision or condition of the policy other than as above stated,

: f Efective Date. Part of Policy No.
2/1/84 at the hour specified in the policy. OK 34 64
‘| Issued to
Watts Regulator Company
- -§24-Boston 048045 Marsh & McLennan Group Assoctates JST ?cac3 4/10/84
~)

— 7 Rathorized Agent thre PD

ot valid unless countersigned by a duly authorized agent of the THOMAS F. GAFFNEY,
VEE INGIRANDE CNUDANY AE MNeTU AUCcOInA

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so? ’

id ‘NSURANCE COMPANY OF NORTH / ‘RICA

- Rider #8 (Continued)
CO 4, follomn sabe Principal Sum Amounts have been increased to the
lowing: Oe
Class I: Minimum $10,000 - Maximum $250,000* in
mltiples of $10,000.
Class It: ‘SOS of Class 1 Benefit {f children insared,
: ye otherwise 60% of Class I Senef it.
Class ITI: 103 of Class I Basef {it unless no spouse

insured then 18% of Class I Benefit. -
*Amownts over $150,000 may not exceed ten (10) tines
annual earnings.

5. The aggregate Hatt of Hability is trereased to $2,000,000
per accident. a
6. Monthly rates are amended as follows:

ee Employee Only $.55 per $10,000.
. Pee Plan «$376 per $10,000.

dg?

Nothing herein contained shali vary, alter or extend any provision or condition of the policy other than as above stated.
' té art of Policy No, 7
2/1f/aa : at the hour specified in the poticy, OK 34 64
issued to
atts Regulator Company
524-Boston 048045 Marsh & McLennan Group Assoc. UST/eacs 4/10/84 .
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J. —Hatoried Rear — Hire Pkg,

Yot valid uniess countersigned by a duly authorized agent of the THOMAS F RA6ENEY bull fone

RA / ~ \SURANCE COMPANY OF NORTH

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Nothing herein contained shail vary,

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alter or extand any provision or condition af the policy ather than as above stated.

ve Date

"Part of Policy No.
at the hour specified in the poticy.’
Issued to —~March—17,—1973- - 34 64
L_ Hette-Regnt Compan
Ca 524-Boaton 120639 = Marsh & McLennan, Inc, J¥/mbh; 4/12/78

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Authorized Agent

Not valid unless countersigned by a duly authorized agent of the

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| Co HSURANCE COMPANY OF HORTH"~IRICA B
() Rider #6
C
In comeideration of the prenium charged, it 40 hereby understeed aod
agreed that the same of the Peltcybelter in susie Zo mien
0“ yanSrER yommer comronerree
Cd

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\ .
Nothing herein contained shall vary, alter or extend any provision or condition of the policy other than as above stated.

tive f | Part of Policy No.
Yury _at the hour specified in the policy. OF 3464
Issued to

Watts Regulator Company and Subsidiary and Affittated Companies

324~Boston 120639 = Marsh & McLennan, Inc. MS/enh; 3/11/77
(4
Authorized Agent HA 1) ZB ;
Not vaiid unless countersigned by a duly authorized agent of the CA tel vem “oe ident
LIFE INSURANCE COMPANY OF NORTH AMERICA DONALD °

\

GINA) : LIFE GURANCE COMPANY OF HORTH AN ‘CA

/ Rider #5
C
in consideration of the. premium charged it is hereby understood and agreed
scription is amended to inclede usion suployees of the Policyholder.
"ayo
It 1s also understood and agreed that vo loyer contribution fe required
to put this coverage into effact. “-
()
L.

4aF

Nothing herein contained shail vary, alter or extend any provision or condition of the policy other than as above stated,

Effective Date —“T Bart of Policy No.
July 1, 1975 at the hour specified in the policy. | Ox 3464
issued to - "
Watts Raguiator Co
Bs/jd, 6-30-75
f + Marsh & McLenman, Ine., 524-Boston, 120639
ay

Authorized Agent HW , 0 L 2 4
Not vatid untess countersigned by a duly authorized agent of the a aly “gt Zs

LIFF INSHRANCF COMPANY NF NORTH AMFRICA DONALO G. HETH. President

- : LIF’ SURANCE COMPANY.OF NORTH A’ ICA ot
O Rider # 4 {5

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Nothing herein contained shall vary, alter. or extend any provision or condition of the policy other than as above stated.
EHective Bate

Part of Policy No.

— 61-75 at the hour specified in the poliey. OK 3h6h
ss
Watts Regulator Co,
Jat/ee, 6-5-75
67 Marsh & McLeman, Inc. 120639 524- Boston:
_

Authorized Agent Oe WA 0 Lh
Not valid unless countersigned by a duly authorized agent of the lial,

DtPE INGHCAMOCE PAUDANY AG MAOTU ALIERIOA | BONALG G. HETH. President

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Nothing herein contained shall vary, alter or extend any provision of condition of the policy other than as above stated.

Effective Date 1B. Part of Policy No.
cats 5-18-75 at the hour specified ‘In the policy, O 3464
Watts Regulstor Company
Jat/Jd, 5-12-75
¢ + Marsh & McLennan, Inc., 524-Boston, 120639
w

Authorized Agent HW Di ,
Not vatid untess countersigned by a duly authorized agent of the loaf L.

PIO IMI ARIAR AAD dae A tim me

GND) ~ oO LFF” ‘SUMANCE COMPANY OF HORTH A “ICA | p

Rider #2

fo In consideration of the prestun charged for this policy, it is hereby
A amended to inalene the feilecing. of APelication Farm 1d h229 ts

first day of the Bold # Fises? Month next
following completion of the Insured's. enrollment
cerd..

3. qepnizntions of coverage shall be affective on lest
day of the Bui: *s Tincal Month follo
date the Reployee cesses to be eligible or withirews
trom the plan.

TI. Ae respects Buployees on Confidential and Monthly Reyzoll -

A. Additions, changes end ; potions sell be as in I
sbove except they will be éffented on the Mrst or
the last day of the Celenter Month en applicable.

af

tn

Nothing herein contained shail vary, alter or extend any provision or condition of the policy other than as above Stated.

venuery 1, 1975 at the-hour spacifiad: in the policy. “i
issued to Watts Regulator Company —
Marsh & MoLannen, Tne. 120639 58t/aa_ 3/4/75
C3 .
Lu

Authorized Kant ‘Dbl a

Nat valid unless countersigned by a duly authorized agent of the
TIFF INSHRANCE AOMPANY NE NNeTH AURDIACA BONALD G. HETH. President

iN) oe Lit NSURANCE COMPANY GF NORTH RICA

Rider # 1

c In consideration of the premium charged for this policy it is
to the pelficy:

e

the Tngured ds fiteet ty reason ef eduection,

for the remainder of his life,

*
~

Nothing herein contained shail vary, after or extend. any provision or condition of the policy other than as above-stated.

te Part of Polley No.
LL/75 _—it the hour specified in the policy, | OK 3464 _

issued to

Watts Regulator Company

JST/1d, 12/17/74 .
Marsh & MeLennan, Ine. 120639 524-Boston

io
nd

Authorized Agent

Not vaiid unless countersigned by a duly authorized agent of the Chirk k. Cog
LIFE INSURANCE COMPANY OF NORTH AMERICA Prealdant

CVA

“4,4
in the event that the Insurance provided by Plan A
of the policy to which this rider is attached (hare-
inatter referred to as “this policy") should tarmi-
nate for any of the following reasons: —

(a) termination of employment or. ‘membership,
except mandatory retirement because of age;
or

(b) termination of eligibility for any reason, except
age or termination of the group or blanket
policy or plan;

the insured shall, subject to the conditions herein-

after stated, be entitled to have issued to him, with-

out evidence of Insurability, a policy of insurance
(hereinafter referred to as “the converted policy”)
by making written application therefor within 31
days after such termination of insurance and by
paying the first premium applicable to the class of
tisk to. which the Insured belongs, to the Ineured’s
attalned age, and to the form and amount of :insur-
ance provided. The converted policy shall take
effect on the date of such termination of insurance
or on the date of application. for the cahverted
policy, whichever is later,

The converted policy shall provide indemnity for

saccidental death and dismemberment in an amount
not to exceed the. amount of Plan A insurance ap-
plicabie to the Insured.

The converted policy may provide that it shall be
renewable on any anniversary with the consent of
the Company subject te a maximum age timit,

The converted policy may exclude any condition
or hazard applicable to the Insured at the time of

. termination of previous. insurance under this

policy. Any benefit. otherwise payable under the
converted policy shail be reduced by the amount
of any such benefit payable under this. policy after
the termination of such insurance.

It the converted policy made available hereunder

in the jurisdiction where this policy was lesued
cannot be lawfully Issued to an applicant for con-
version under the applicable laws and regulations

_ Of (1) the jurisdiction where application for conver-

sion Is made, or (2) the jurisdiction where he-re-
sides when his application for conversion Is made,
then he shall have the option of converting to a
policy on such other form as the Company is then
offering for conversion of insurance hereunder In

‘the jurisdiction where he resides.

Coverage for dependents, if any, may be converted
on the same basis If the coverad dependent ceases
to be eligible for any reason other than age.

Uniess prohibited by statute or regulation in the
state having jurisdiction, absolute assignment of all

rights, privileges and interests under this policy,

including the right to apply for such conversion, is

hereby expressty permitted.

DEFINITION OF PAINCIPAL SUM

“Principal Sum" as used herein shall mean: the
total amount of accidental death insurance appil-
cable to the person insured under elther or both
of the following ptans:

Plan A—the stated amount of Principal Sum or
$100,000, whichever is jess.

Plan B—the amount of Principal Sum in excess of
Plan A, if any.

ELIGIBILITY PROVISION

it an individual gdlicy providing accidental death
insurance Converted by & person from any previous
group, bianket or franchise accidental death Insur-
ance under this policy remains in force at the time
such person would otherwise become eligible for
any group, blanket or franchise accidental death
insurance under this polloy, such eligibility shalt be
deferred until such person. shall furnlah, without
expense to the Company, evidence of Insurability

' satisfactory to the Company.

Nothing herein contained shail be held to vary, alter, waive or extend any of
the tarms, Provisions or limitations of this poticy other than as above stated.

LIFE INSURANCE COMPANY OF NORTH AMERICA

Abn Clk.

Prasicqiant

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SCHEDULE OF. INSUREDS

{ Jne of Organization: Watts Regulator Company

Policy No: OK 3464

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ed

C Principal Coverage Coverage
Cert. # Name of Insured Sum - Effective Terminated
As. per liat on file with the Policyholder

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DESCRIPTION OF COVERAGE

Coverage A—Loss of Life, Limb or Sight Indemnity:

If such injuries shall result in any one of the following specific losses within one year from the date of accident, the
Company will pay the benefit specified as applicable thereto, based upoa the Principal Sum. stated. in the Policy
Schedule; provided, however, that not more than one (the largest) of such benefits shall be pald with respect to
injuries resulting from one accident.

Loss of life 2... ca eee eee eben eee nereeee bed ee em enter tbat e eaten ereeeane The Principal Sum
Loss of two or more members .......- 0.0 0cs eee eee ee nee eect eee cee e nese eeneneees The Principal Sum
Loss of one member 2.0.0.0... ccc eee e ee cee ree bee eet tne tateenetteerees One-Haif The Principal Sum
toss of thumb and index finger of the same hand .......20e2e races cet eeene One-Quyarter The Principal Sum
“Member” means hand, tap eye. "Loss" means, with regard to hand or foot, actual severance through or above

the wrist or ankle joints; regard to eye, entire and ircoverable Joss of sight; with regard to thumb and index
finger, actual severance through or above metacarpophalangeal joints (in South Carotina, loss of. four fingers
entire. of one hand shall constitute the loss of one hand).

Coverage B——Permanent Total Disability— [Not Applicable to Dependents}:
After one year of “continuous total disability”, and Hf the insured is then “permanently and totally disabled” the
Company will: pay @ Permanent Total Disability Benefit equal te the difference between the Principal Sum and-any

‘payments made under Coverage A on. account of such injuries,

“Continuous: total disability”, which must result from such injuries and commence within 30 doys after the date of
accident, means the Insured's complete inability during the first year thereof to. perform every duty of his occupation.
"Permanently and totally disqbled”, means the Insured's complete inability, after one year of continuous total dis-
ability as defined above, to engage in an occupation or employment for which the Insured is fitted by reason of
education, training or experience for the remainder of his life.

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PROVISIONS
Attached to and forming a part of policy form LG-4219

Entire Contract; Changes: This policy, including the
Organization's application, endorsements and the at-
tached papers, if any, constitutes the entire contract of
insurance. No change in this policy shall be valid until
approved by an executive o of the Company and
unless such approval be entiorsed hereon. or attached
hereto. No agent has authority to change this policy
or, to watve any of its provisions,

Notice of Claim: Written notice of claim must be given .
to the Company within thirty days after the occurrence

or commencement of any ioss covered by the policy, or
as scon thereafter as is reasonably possible. Notice
given by or on behalf of the Insured or the beneficiary
to the Company at Philadelphia, Pennsylvania, or to
any authorized agent of the Company, with informa-
tion sufficient to identify the Insured, shall be deemed
notice to the Company.

Claim Forms: The Company, upon receipt of a notice of .

claim, will furnish-to the claimant such forms as are
usuaily furnished by it for filing proofs of loss. If such
forms are not furnished within fifteen days after the
giving of such notice the claimant shall be deemed to
have complied with the requirements of this policy as
to proof of loss upon submitting, within the time fixed
in the policy for filing proofs of loss, written proof
covering the occurrence, the character and the extent
of the foss for which claim is made.

Proofs of Loss; Written proof of loss must be furnished

to the Campany at its said office within ninety days .

after the date of such less. Failure to furnish such
proof within the time required shall not invalidate nor
reduce any claim if it was not reasonably possible to
give proof within such time, provided such proof is fur-
nished as soon as reasonably possible and in no event,
except in the absence of legal capacity, later than one
year from the time proof is otherwise required.

Time of Paymant of Claims: Indemnities payable under

. this poitcy will be paid. immedictely upon receipt of

due written proof of such lass,

Payment of Claims; indemnity for accidentai loss of life
will be payable in a lump sum to the beneficiary of rec-
ord. if the Insured has made prior written election, the
amount due, or such portion thereof as may have been
requested by tha Insured in lieu of a lump sum pay-
ment, will be paid in a fixed number of monthly install-
ments as selected by the Insured according te the table
set forth below. If the Insured has not elected any such
mode of settlement, the beneficiary, after the death of
the Insured, may elect in writing that all or any part of
the amount peyable be paid in a fixed number of
monthly installments as selacted by the beneficiary ac-
cording to said table, with the remainder, if any, paid
in a Jump sum. Any lump sum payment will be made
immediately upon receipt at the Home Office of the re-
quired proofs of claim, Where installment payments are

LG-4221 (Mass., Miss.) -

elected, the first instoliment will be paid immediately
upon receipt of such proofs.

Nomber of years Ament of each
during which monthly i
monthly installments $10,000
‘be paid Sam
PAYMENTS FOR 3 $288.00
ACCIDENTAL LOSS OF = 5 177.00
LIFE INDEMNITY - 10 94.00

The amount of each monthly installment for Principal

Sum other than $10,000 will be in proportion to the

above amounts, but may In no case be less than $90.

tf, at the death of the Insured, thera is no surviving
beneficiary, the accidental: loss. of iife indemnity shall
be payable in one sum to the first surviving class of the
following classes of beneficiaries, otherwise to the
estate of the insured: wife, husband, child or children,
father, mother, brothers or sisters.

If the Insured has elected. monthly installment pay-
ments and the beneficiary shail die before the payment
of all the monthly installments to which entitled, the
commuted value of any remaining. monthiy install-
ments, at the rate of interest used to determine such

installments, will be paid in one sum to the estate of

the daceased beneficiary, unless.the Insured has desig-
nated otherwise. The amounts payable in accordance

with the above table are based upon interest at the .

rate of two ‘and one-heif per cent (214% } per anoum.

Upon any Anniversary Date of this policy the Company
may substitute for the above teble a comporable table
based upon a different rate of interest, which shall in
no case be less than 244 %, but such new table shall
not be applicable to any claim resulting from an
accident which occurred prior to the date of such
substitution. %

All other indemnities will be payable to the Insured.

Physical Examinations: The Company at its own ex-
pense shail have the right and opportunity to examine
the person of the Insured when and as often-as if may
reasonably require during the pendency of a claim
hereunder.

Legal Actions: No action at law or in equity shall be
brought to recover on this polley prior to the expira-
tion of sixty days after written proof of loss has been
furnished in accordance with the requirements of this
policy. No such action shall be brought after the ex-
piration of three years {or the minimum time, If more
than three years, permitted by law in the State where
the Insured resides) after the time written proof of loss
is required to be furnished,

Printed in U.S.A.

32

Change of Beneficiary: The right to change of bene-
ficiary is reserved to the Insured and the consent of
the beneficiary or beneficiaries shal! not be requisite to
any change in beneficiary.

Policy Termination by the Organization or the Com-
pany: This policy may be terminated by the Organize-
tion on the first: anniversary date, or at any. time
thereafter, by mailing or delivering to the Company ot
its Home Office, Philadelphia, Pennsylvania, written
notice of such termination, effective on receipt or on
such later date-as may be specified In such notice. In
the event of such termination at a date other than the

anniversary date, the earned premium shall bé com-.

puted, and the Company will return promptly the un-

‘earned portion of any premium paid.

This policy may be terminated by the Company as of
any anniversary date by mailing o delivering to. the
Organization, at the last address shows on the records

of the Company written notice stating when, not less

than 31 days thereafter, such termination shall be
affective.

coneormity With State Statvtes: Any provision of this
policy which, on its effective date, Is in conflict with the
statutes of tha state in which the Insured resideson
such dote is hereby amended to conform to the mini-
mum requirements of such statutes. This policy Is not
in Hev of and does not affect any requirements. for
coverage by Workmen's Compensation Insurance.

Cerlficates of insurance: The Company will issue to the
Organization, for delivery to the persons insured here-
under, certificates of insurance containing. the principal
terms of the policy and the Organization shall main-
tain a complete record of such persons.

Examination of Records: The Campény shall be. per-
mitted to examine the Organization's records relating
to this policy af any reasonable time, and from time to
Hine ‘uatll two yeors after.the expiration of this policy
of until final adjusiment and settlement of ail claims
hereunder, whichever is the later.

IN WITNESS WHEREOF, the LIFE INSURANCE COMPANY OF NORTH AMERICA has caused this. policy to be signed

by its President and Secretary in the City of Philadelphia,

Pennsylvania, but said ‘policy shall not be binding upen

the Company unless countersigned by a duly authorized representative of the Company.

Countersigned: licensed Resident Agent “4 pf * Secretary Msi Ft

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